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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMERITAS LIFE INSURANCE CORP.,
Plaintiff,

v. : CA. No. 1:23-cv-00236 (GBW)

WILMINGTON SAVINGS FUND
SOCIETY, FSB, SOLELY AS
SECURITIES INTERMEDIARY,

Defendant.

STIPULATION AND [PROPOSED] ORDER REGARDING FORMAT AND
LENGTH OF BRIEFS FOR DISPOSITIVE MOTIONS

WHEREAS, Plaintiff filed dispositive motions on February 28, 2025 (D.L.
213; D.I. 218).

WHEREAS, Plaintiff filed its supporting briefs, fact statements, and several
exhibits provisionally under seal because they contain (or describe) information
designated “Confidential” under the Agreed Protective Order (D.I. 18).

WHEREAS, the Court’s Scheduling Order (D.I. 17 § 7) and the Revised
Administrative Procedures Governing Filing and Service by Electronic Means (§
G(1)) provide that redacted versions of such filings must be filed within seven days.

WHEREAS, on March 6, 2025, the parties stipulated to extend Plaintiff's
deadline in this regard to March 21, 2025, and, on March 10, 2025, this Court entered

an Order granting that stipulation.
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WHEREAS, Defendant, in its forthcoming oppositions to Plaintiff's
dispositive motions, and Plaintiff, in its forthcoming replies, anticipate significant
reference to materials that are designated confidential, and thus both parties
anticipate filing additional materials provisionally under seal.

WHEREAS, given the volume of materials designated confidential, and the
desire to confer regarding which materials should be maintained under seal, the
parties agree good cause exists to set a combined deadline for all parties to file their
respective public versions of summary judgment materials (i.e., opening materials,
answering materials, and reply materials), thirty (30) days from the close of briefing.

IT IS HEREBY STIPULATED AND AGREED, by the parties hereto,
through their undersigned counsel, and subject to the approval of the Court, that both
parties shall file public versions of their opening, answering, and reply materials
regarding Plaintiff's dispositive motions (D.I. 213; D.I. 218) no later than thirty (30)

days after reply briefs are submitted.

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Dated: March 21, 2025

Filed 03/24/25
Filed 03/21/25

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/s/ Matthew B. Goeller

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sah
SO ORDERED this % 2H Nay of Meh. 2025
Bethe

The Honorable Gregory B. Williams
